
PER CURIAM.
D.B., a child, challenges his commitment to a moderate risk residential facility, as opposed to probation, which the Department of Juvenile Justice recommended. We find that the trial court failed to set forth its reasons for disregarding the recommendation in the context of the child’s needs or explain why its consideration of the same factors relied upon by the Department led to a different conclusion. See A.C.N. v. State, 727 So.2d 368, 370 (Fla. 1st DCA 1999); N.W. v. State, 835 So.2d 1263 (Fla. 1st DCA 2003); N.B. v. State, 911 So.2d 833 (Fla. 1st DCA 2005). Instead, the trial court merely restated the facts of the case as support for its decision. Such reasons are legally insufficient. Therefore, we reverse the trial court’s disposition and remand for further proceedings.
ALLEN, PADOYANO and BROWNING, JJ., concur.
